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                                                                                    FILED



                  IN THE UNITED STATES DISTRICT COURT
                                                                                 10:45 am, 5/20/24

                           FOR THE DISTRICT OF WYOMING                        Margaret Botkins
                                                                               Clerk of Court


 BCB CHEYENNE LLC d/b/a BISON
 BLOCKCHAIN, a Wyoming limited
 liability company,

              Plaintiff,
       vs.                                              Case No. 23-CV-79-J

 MINEONE WYOMING DATA CENTER
 LLC, a Delaware limited liability
 company, et al.,

              Defendants.


 ORDER DENYING PLAINTIFF’S MOTION FOR RECONSIDERATION AND
                 CLARIFYING PRIOR ORDER


      Before the Court is Plaintiff’s Motion for Reconsideration. [ECF No. 158]. Plaintiff

requests the Court reconsider two of its rulings in the Order on Plaintiff’s Motion to

Compel. [ECF No. 154]. First, Plaintiff asserts limiting Defendant MineOne’s production

of documents and communications that existed as of March 15, 2023, was clearly

erroneous. Primarily, it seeks a July 27, 2023, financing agreement between MineOne and

Bitmain. Second, Plaintiff argues it was clear error to accept MineOne’s argument that

Chinese Privacy laws preclude MineOne from producing WeChat communications with

Bitmain and not compelling their production. Out of caution, the Court ordered MineOne

to produce the financing agreement for an in camera review. [ECF No. 171]. After
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considering Plaintiff’s request and reviewing the filings, the Court denies the Motion for

the reasons stated herein.

                                      RELEVANT LAW

       The Federal Rules of Civil Procedure do not specifically provide for motions for

reconsideration. See Hatfield v. Board of County Comm’rs for Converse County, 52 F.3d

858, 861 (10th Cir. 1995). Additionally, the Local Court Rules only reference

reconsideration with regard to a magistrate judge’s order on non-dispositive matters. Local

Rule 74.1.

       When “a party files a motion for reconsideration prior to the entry of judgement,

Rules 59(e) and 60(b) do not apply.” Innovatier, Inc. v. CardXX Inc., No. 08-cv-00273-

PAB-KLM, 2011 WL 93720, at *1 (D. Colo. Jan. 11, 2011). Instead, a motion for

reconsideration falls under Rule 54(b). Rule 54(b) provides that “any order or other

decision, however designated, that adjudicates fewer than all the claims or the rights and

liabilities of fewer than all the parties does not end the action as to any of the claims or

parties and may be revised at any time before the entry of a judgment adjudicating all the

claims and all the parties’ rights and liabilities.” A motion to reconsider “is not appropriate

to revisit issues already addressed or advance arguments that could have been raised in

prior briefing.” SEC v. 4NExchange, No. 03-4150, 2005 U.S. App. LEXIS 12926, at *6

(10th Cir. June 28, 2005) (quoting Servants of the Paraclete v. Doe, 204 F.3d 1005, 1012

(10th Cir. 2000)).

       A trial court’s decision under 54(b) will only be overturned for abuse of discretion.

Ankeny v. Zavaras, 524 Fed. Appx. 454, 458 (10th Cir. 2013). However, courts within the

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Tenth Circuit have imposed limits on the broad discretionary power Rule 54(b) provides.

Innovatier, 2011 WL 93720, at *1. Both the Rule 60(b) and 59(e) analyses have been

followed to promote efficiency. Id. “Regardless of the analysis applied, the basic

assessment tends to be the same: courts consider whether new evidence or legal authority

has emerged or whether the prior ruling was clearly in error.” Id.

                                            RULING OF THE COURT

         After numerous discovery conferences, formal orders, and a hearing, the issues in

this case remain contested. The Court will begin by addressing Plaintiff’s arguments

against the discovery timeframe. 1

Discovery Timframe

         First, the Court will clarify it did not impose a cutoff of March 15, 2023, for

discovery requests. In the Order, the Court stated that “[t]he Court is not inclined at this

time to extend the requests beyond the date suit was filed.” [ECF No. 154, at 4].

Admittedly, this does not provide an exact date, but the intention was to draw a line at the

filing of this suit—May 3, 2023. 2 Defendant MineOne has produced documents up to that

date. [ECF No. 165, at 5 n.2]. Further, it is not a complete barrier to discovery outside of

that date. Rather, it was not and is not apparent to the Court what information relevant to

Plaintiff’s claims could exist after this suit was filed. It is a general timeframe to promote


1
  The Court denies Defendant’s argument that the Court should deny Plaintiff’s Motion for failing to comply with
Judge Johnson’s Order [ECF No. 156]. [ECF No. 165, at 7]. The unusual circumstances of changing in status from a
magistrate judge to a district judge has complicated the procedural posture of these issues. It is better to address the
Motion’s substance and put the issues to rest.
2
  Plaintiff argues it did not first sue Bitmain until it filed its Amended Complaint on September 30, 2023. The actual
pleading date isn’t the significant consideration in setting the discovery timeframe. It is the relevant events that give
rise to the suit. While Plaintiff did not sue Bitmain until September 30, 2023, the events giving rise to its claims arose
at the same time as its claims against the other Defendants.

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efficient discovery in accordance with Rule 26’s relevance, burden, and proportionality

considerations.

       Plaintiff states “‘there is no bar against discovery of information about events

occurring after the filing of a lawsuit.’” [ECF No. 158, at 2] (quoting McKinney v. Gannett

Co., 660 F. Supp. 984, 990 (D.N.M. 1981)). This is true, but even discovery of potentially

relevant information has its limits. Fed. R. Civ. P. 26. Additionally, McKinney was decided

in 1981; before the 2000 amendments to the Federal Rules of Civil Procedure. “The 2000

amendments effected a change in the scope of what is relevant for purposes of discovery.”

In re Cooper Tire & Rubber Co., 568 F.3d 1180, 1192 (10th Cir. 2009). After the

amendment, relevance pertains to a party’s claim or defense, not the broader subject matter

of a case. Id. In 2015 Rule 26 was further amended by taking the “considerations that bear

on proportionality” in Rule 26(b)(2)(C)(iii) and moving them to 26(b)(1) to better define

the scope of discovery. Fed. R. Civ. P. 26, Adv. Comm. Notes, 2015 Amendments.

Additionally, the key to all discovery is that it is relevant. The full quote of the McKinney

passage is:

       Under Rule 26, Federal Rules of Civil Procedure, there is no bar against
       discovery of information about events occurring after the filing of a
       complaint. It is my view that while events occurring after McKinney's
       authority was removed might not constitute separate breaches of the
       Employment Agreement, such events may shed light on prior events. Thus,
       the information is discoverable because it may be admissible at trial or lead
       to admissible evidence.

McKinney, 660 F. Supp. at 990. Thus, based on the facts of that case, Judge Campos

determined certain information created after the filing of the case could be relevant. Id.



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       In addition to the requirement that discovery be relevant, it must also be

“proportional to the needs of the case, considering the importance of the issues at stake in

the action, the amount in controversy, the parties’ relative access to relevant information,

the parties’ resources, the importance of the discovery in resolving the issues, and whether

the burden or expense of the proposed discovery outweighs its likely benefit.” Fed. R. Civ.

P. 26(b)(1). Those considerations are fact and case intensive, which is why “a trial court

has broad discretion in fashioning the terms and conditions of discovery.” Hedquist v.

Patterson, 215 F. Supp. 3d 1237, 1243 (D. Wyo. 2016); accord Punt v. Kelly Servs., 862

F.3d 1040, 1047 (10th Cir. 2017) (“Control of discovery is entrusted to the sound discretion

of the trial courts.”). After a court has assessed the needs of a case, it has the same “broad

discretion to control and place appropriate limits on discovery.” Kutilek v. Gannon, 132

F.R.D. 296, 297 (D. Kan. 1990) (citing Corwin v. Marney, Orton Investments, 843 F.2d

194, 200 (5th Cir.) cert. denied, 488 U.S. 924 (1988)).

       The Court exercised that discretion in its Order when it did not extend discovery

beyond May 3, 2023. [ECF No. 154]. That date’s significance is not that it was the date

Plaintiff filed suit, but what it represents. Filing suit represents that the factual basis for a

plaintiff’s claim has occurred and it is seeking judicial intervention. Some cases may be

different, but the timeframe was determined after considering the nature of Plaintiff’s

allegations in the Amended Complaint. Its claims are 1) breach of contract against

MineOne; 2) breach of the implied covenant of good faith and fair dealing against

MineOne; 3) breach of contract against Terra; 4) breach of the implied covenant of good

faith and fair dealing against Terra; 5) intentional interference with contractual relations

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against Bit Origin ltd, MineOne Partners LLC, SonicHash LLC, Bitmain Technologies

Holding Company, and Bitmain Technologies Georgia Limited; and 6) alter ego and

enterprise liability for the claims. [ECF No. 50]. The nature of those claims do not make it

apparent why information from after suit was filed would generally be relevant to support

those claims. Plaintiff’s own allegations contemplate the breach, or anticipatory

repudiation, occurred at some point in March 2023. Further, the claims are for a total breach

of the agreement, without some partial or ongoing relationship between the parties. 3

        To prove those allegations, there are many facts leading up to that point that are

relevant to the claims at issue. However, the relevance of facts or events taking place after

the breach becomes more questionable. By analogy, a breach is like cutting a string. Once

cut, it is severed and no longer a single strand. Threads of that string may split beforehand,

but until the last thread breaks the string remains one piece. What happens after the string

is separated no longer matters because it is already cut into two pieces. It could be tied back

together but would then take on a different character unlike the continuous strand it was

before.

        Similarly, once a breach occurs, the event is completed absent some sort of cure or

ongoing relations subject to further damage. 4 That is all to say, information or events



3
  “Defendant MineOne Wyoming anticipatorily repudiated and/or materially breached the DHS AGREEMENT with
Plaintiff BCB when it chose not to honor its obligation under the DHS AGREEMENT, when, at Bit Origin’s direction,
it brought in its own MineOne Wyoming team and workers to perform BCB’s work and contractual obligations
without BCB Cheyenne’s consent, and when, at Bit Origin’s direction, MineOne Wyoming constructively and
effectively removed BCB from the North Range facility without cause, and, at Bit Origin’s direction, it would not
allow BCB to perform BCB’s remaining contractual obligations for both the North Range and Campstool sites and/or
facilities, all to BCB’s injury and loss, generally described in the Paragraph 201 below.” [ECF No. 50, at 46].
4
  This same logic would apply to the tortious interference claims because once Plaintiff was “effectively removed”
from the projects, the alleged interference was complete.

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occurring after an alleged breach are not generally relevant to the claim because that breach

has already occurred. Certainly, there can be exceptions to the rule but that is an appropriate

line for a court to draw when exercising its discretion to manage discovery. The Court drew

that line here, even allowing for discovery after March 2023 into May 2023, to provide the

parties with a reasonable period to conduct the expansive searches needed to comply with

the written discovery requests. That promotes efficient discovery by alleviating an overly

burdensome and nonproportional strain on Defendants to spend copious time rummaging

through documents that would presumably not reveal relevant information. Any relevant

information it might reveal is outweighed by the proportionality concerns.

         The temporal limitation is a general rule the Court declared to promote efficiency.

The Court will clarify it is not a complete blockade to relevant information existing after

May 3, 2023, that is specifically requested. 5 It simply allows Defendants to use May 3,

2023, as the end date when conducting searches for Plaintiff’s discovery requests. Such a

decision is well within a district court’s power. Trentadue v. FBI, 572 F.3d 794, 808 (10th

Cir. 2009) (“courts must limit otherwise-permissible discovery if ‘the burden or expense

of the proposed discovery outweighs its likely benefit, considering the needs of the case,

the amount in controversy, the parties’ resources, the importance of the issues at stake in

the action, and the importance of the discovery in resolving the issues’” (quoting Fed. R.

Civ. P. 26(b)(2)(C)(iii))). Such a decision is no different than limiting the scope of

discovery requests or the search terms used to respond to discovery requests. Taylor v.


5
 The Court stated that it was “not inclined at this time to extend the requests beyond the date this suit was initiated.”
[ECF No. 154, at 4]. The wording “not inclined at this time” does not impose a complete barrier.

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Grisham, No. 1:20-cv-267-JB-JHR, 2020 U.S. Dist. LEXIS 205965, *6 (D.N.M. Nov. 30,

2020) (“Requests which are worded too broadly or are too all inclusive of a general topic

function like a giant broom, sweeping everything in their path, useful or not.” (quoting

Audiotext Commc’ns v. U.S. Telecom, Inc., No. 94-2395-GTV, 1995 U.S. Dist. LEXIS 545,

at*4 (D. Kan. Jan. 17, 1995))); Vallejo v. Amgen, Inc., 903 F.3d 733, 739, 742–44 (8th Cir.

2018) (affirming a magistrate judge’s ruling limiting the plaintiff’s requested search terms

from 206 to 15); Himoinsa Power Sys. v. Power Link Mach. Co., 2010 U.S. Dist. LEXIS

54106, *7 (D. Kan. June 2, 2010) (limiting the temporal scope of discovery to six months

before and after the relevant event); Kitchen v. Corizon Health, Inc., No. 20-1310, 2020

U.S. App. LEXIS 39363, at *12 (6th Cir. 2020) (affirming a district court’s denial of a

motion to compel which the district court did in part because of the lack of temporal

limitations). Indeed, “[r]ecency is one component of relevance.” Kuttner v. Zaruba, 819

F.3d 970, 974 (7th Cir. 2016) (discussing temporal limitations on discovery in

discrimination cases).

The July 27, 2023, Financing Agreement

       Plaintiff does specifically request a document after May 3, 2023, the July 27, 2023,

financing agreement between MineOne and Bitmain. The Court impliedly denied that

request with its Order by imposing the May 3, 2023, cut off without specifically addressing

the document itself when it should have. Out of caution, the Court ordered MineOne to

submit the document for in camera review and MineOne complied. After reviewing the

document, the Court concludes that it is not relevant, and any marginal relevance is

outweighed by the prejudice of MineOne disclosing a confidential agreement.

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       In its Motion for Reconsideration, Plaintiff alleges that the July 27, 2023, financing

agreement:

       is a critical financial and control document of the MineOne/Bitmain
       “comprehensive partnership.” It will state the financial terms of the loan(s).
       It will describe the security and control terms that Bitmain required and
       obtained on the North Range bitcoin mining site. Acting under Bitmain’s
       financial leverage and control, and Bitmain’s requirement that BCB be
       removed as the O&M Service Provider, MineOne then effectively removed
       BCB as the O&M Service Provider, replaced BCB with MineOne as the
       O&M Service Provider, and ultimately brought these bitcoin mining projects
       under full Chinese ownership, control, and operations/maintenance.

[ECF No. 158, at 7]. The financial, security, and control terms of the agreement are not

relevant to Plaintiff’s claims or defenses. Those relate to the loan and do not shed light on

the validity of Plaintiff’s claims. The agreement was signed well after the alleged breach

and interference, so any specific control generated from it was not present when those

allegations occurred.

       What is relevant, is the agreements existence; not its contractual terms. Taking

Plaintiff’s allegations as true, Defendants’ relationship now is the culmination of those

events. However, the existence of the agreement, the general role of Defendants, and

Plaintiff’s absence from that are undisputed to the Court’s knowledge. Plaintiff’s argument

that the agreement “demonstrates the financial power and influence Bitmain wielded over

MineOne; and proves, or tends to prove, that MineOne was willing to yield to Bitmain’s

demand that BCB be removed” is a broad leap. It is a financing agreement, not a pact

targeted at taking down Plaintiff. Turning back to the string analogy, the string was cut

back in March 2023. Plaintiff is one piece, with MinOne being the other. Subsequently,

MineOne tied a knot with a new strand in Bitmain. Plaintiff is trying to prove that Bitmain

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was the knife the cut the string, but the agreement does nothing to prove that. The

agreement is the new knot, not the knife. The factual circumstances existing in March 2023

are the knife as those show what severed the relationship.

WeChat Messages

       Unrelated to the Court imposed discovery timeframe, Plaintiff seeks reconsideration

of the Court’s ruling on the WeChat messages between Bitmain and MineOne

representatives. In the Order, the Court determined it “cannot order disclosure of the

WeChat messages because Chinese law is currently blocking their retrieval.” [ECF No.

154, at 4].

       Contrary to Plaintiff’s assertation that it “accepted – ‘lock stock and barrel’ –

MineOne’s counsel’s evasive strawman argument that ‘Chinese privacy laws’ preclude

MineOne from producing its WeChat communications with Bitmain,” Defense counsel

made representations that satisfied the Court. It was not some far-fetched spontaneous

conclusion the Court came to on its own. Defendants represented their e-discovery vendor

was unable to transfer the files after accessing the relevant accounts. [ECF No. 145, at 8–

9]. That representation was then made again in open court at the hearing. Through no fault

of their own, those efforts were unsuccessful. [ECF No. 158, at 2]. Attorneys have a

professional ethical obligation of candor to the court. MODEL RULES OF PROF’L

RESPONSIBILITY r. 3.3; Fish v. Kobach, 320 F.R.D. 566, 573 (D. Kan. 2017) (“counsel

have a duty of candor to the court and to opposing counsel”). “‘Solemn declarations in

open court carry a strong presumption of verity. The subsequent presentation of conclusory

allegations unsupported by specifics is subject to summary dismissal, as are contentions

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that in the face of the record are wholly incredible.’” Lasiter v. Thomas, 89 F.3d 699, 702

(10th Cir. 1996) (quoting Blackledge v. Allison, 431 U.S. 63, 74 (1977)). Intentional

misrepresentations are subject to sanctions. “Where a court finds that fraud has been

practiced upon it, it may assess attorney fees against the responsible party.” Stenson v.

Edmonds, 86 F.4th 870, 876 (10th Cir. 2023) (cleaned up). There is no error in the Court

accepting counsel’s representations of its attempt to collect the relevant discovery simply

because “Plaintiff does not believe MineOne has made extensive efforts” without any

evidence supporting that assertation.

       Upon the Court’s own research, it found significant caselaw dealing with foreign

law blocking discovery. “It is well settled that [foreign blocking] statutes do not deprive an

American court of the power to order a party subject to its jurisdiction to produce evidence

even though the act of production may violate that statute.” Societe Nationale Industrielle

Aerospatiale v. United States Dist. Court for S. Dist., 482 U.S. 522, 544 n.29 (1987).

However, when compliance with a court order would subject a person to liability in his or

her home country a court must balance the interests of comity. Id. at 543–44; see Yukos

Capital S.A.R.L. v. Samaraneftegaz, 592 Fed. Appx. 28, 29 (2d Cir. 2015). “Aerospatiale

endorsed the balancing test contained in the Restatement (Third) of Foreign Relations Law

§ 442(1)(c).” Richmark Corp. v. Timber Falling Consultants, 959 F.2d 1468, 1474-75 (9th

Cir. 1992). The restatement provides the relevant factors to consider:

       the importance to the investigation or litigation of the documents or other
       information requested; the degree of specificity of the request; whether the
       information originated in the United States; the availability of alternative
       means of securing the information; and the extent to which noncompliance
       with the request would undermine important interests of the United States,

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            or compliance with the request would undermine important interests of the
            state where the information is located.

Id. (quoting Restatement (Third) of Foreign Relations Law § 442(1)(c)).

            To the Court’s knowledge, the Tenth Circuit has not directly spoken on this issue,

but the Second and Ninth Circuits have extensively dealt with this subject. In doing so,

they adhere to the comity factors provided in § 442(1)(c) through their own factor tests

when there is a conflict between compliance with a discovery order and foreign law.

Richmark Corp., 959 F.2d at 1474–75; Owen v. Elastos Found., 343 F.R.D. 268, 281–83

(S.D.N.Y 2023). However, the Court does not believe the comity test is applicable in these

circumstances. 6

            The above cases contemplate situations where a party refuses to comply with a

discovery request or order when it would subject them to liability in their home country.

That is distinguishable from what is occurring here. “Defendants are not hiding their

WeChat Messages” and are working in good faith to produce those messages. [ECF No.

165, at 9–10]. The Court ordered MineOne to do so, and added teeth to that directive when

it allowed Plaintiff to pursue sanctions if MineOne acted in bad faith. [ECF No. 154, at 4–

5]. Based on counsel’s representations, Defendants did attempt to collect the messages, but

were unsuccessful. That is not a refusal to comply with discovery, but an incapability.

Better put, MineOne is facing a brick wall rather than spikes in the government’s hands.

The inability to collect the messages as opposed to outright refusing to do so is a concept

Plaintiff fails to appreciate. On that basis, the Court found that it could not order MineOne


6
    Even if the test did apply here, it would be inappropriate for the Court to conduct the analysis without further briefing.

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to produce documents at that time. Instead, in accordance with Fed. R. Civ. P. 26 and 37,

the Court ordered Defendant to proceed in good faith to produce the messages.

       Plaintiff also argues the Court’s decision was in error because MineOne did not

provide the Court with any specific foreign law blocking retrieval of the WeChat messages.

As explained above, other Courts do have such a requirement. Owen, 343 F.R.D. at 281

(“the party resisting discovery must provide the Court with information of sufficient

particularity and specificity to allow the Court to determine whether the discovery sought

is indeed prohibited by foreign law.” (citation omitted)); Cadence Design Sys. v. Syntronic

AB, No. 21-cv-03610-SI, 2022 U.S. Dist. LEXIS 112275, *3 (N.D. Cal. June 24, 2022)

(denying a motion for reconsideration and pointing out the defendant had not “identified

any particular provision of Chinese law affecting its ability to meet its discovery

obligations” in its objections to the original motion to compel).

       The Court will not impose that requirement at this time because Defendant has not

asserted it faces penalties for complying with a discovery order. Rather, it asserts it cannot

strip the data despite its attempts. The refusal to comply because of penalties, as explained

above, is what implicates the comity test. In any event, it is no secret that China operates

differently than the United States. To that end, an unknown informant recently tipped the

U.S. Committee of Foreign Investment “that a Chinese-owned cryptocurrency mining

operation had set up near F. E. Warren” Air Force Base in Cheyenne, Wyoming. Renee

Jean, Biden Orders Chinese-Owned Cryptocurrency Mine Near F.E. Warren To Shut

Down, WYOMING TRIBUNE EAGLE (May 14, 2024), https://cowboystatedaily.com/2024/0



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5/14/biden-orders-chinese-owned-cryptocurrency-mine-near-f-e-warren-to-shut-down/.

That Chinese owned cryptocurrency company is MineOne. After investigating the tip,

“President Joe Biden … issued an executive order that require[d] … MineOne Partners

Limited, as well as any related MineOne entities, to immediately cease operation, remove

all equipment and improvements, and transfer ownership of their facility to an approved

buyer.” Id. The order was based on “‘credible evidence’ that suggests MineOne Partners

Limited and its associated subsidiaries could ‘take action that threatens to impair the

national security of the United States.’” Id.

       Another Chinese owned company, TikTok, has “prompted a wave of putative class

action lawsuits” alleging various privacy violations. In re Tiktok, Inc., Consumer Priv.

Litig., 617 F. Supp. 3d 904, 914 (N.D. Ill. 2022) (a consolidated multidistrict litigation case

of nineteen related actions against TikTok). “[P]olitical tensions” surrounding TikTok

parallel those lawsuits. Id. “The Department of Defense expressed concerns that its

employees’ use of the App raised security issues because of the App’s ability to convey

location, image and biometric data to its Chinese parent company.” Id. at 913–14

(quotations omitted). Further, “several United States Senators called on the intelligence

community to investigate TikTok’s alleged ties to the Chinese government and its potential

as a target of foreign influence campaigns like those carried out during the 2016 election

on United States-based social media platforms.” Id. at 914 (quotations omitted). “Florida

and Texas [passed] laws regulating how social media companies, like TikTok, control

content posted by users on their sites.” Alario v. Knudsen, No. CV 23-56-M-DWM, 2023

U.S. Dist. LEXIS 213547, *4 (D. Mont. Nov. 30, 2023). Needless to say “The extent to

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which China controls TikTok, and has access to its users' data, forms the heart of this

controversy.” Id. at *8. Montana’s Attorney General went so far to say “‘TikTok is spying

on Americans, period. TikTok is a tool of the Chinese Communist Party. It is owned by a

Chinese company, and under China law, if you are based in China, you will cooperate with

the Chinese Communist Party, period.’” Id. at *41 (this statement was made to the Montana

House of Representatives as they considered, then later passed, a bill that banned TikTok

in Montana).

       All that is to say, it is not mere speculation that the Chinese government governs

differently than the United States when it comes to privacy. On that basis, and counsel’s

representations, the Court properly considered that Chinese law was preventing the

collection of Defendant’s WeChat Messages. Plaintiff argues in their Reply that in

reviewing “WeChat’s 2/20/2024 Terms of Use … there is nothing – not one thing –

preventing Defendants, Defendants’ counsel, or any vendor from accessing and producing

the WeChat communications from the phones of Chong “Lucas” Wong, Jiaming Li, or

Huaili “Wiley” Zhang.” [ECF No. 168, at 5]. Rather, counsel argues, anyone using WeChat

is responsible for their own content and falls under the governing law of their legal

jurisdiction. Id. None of that addresses the geographic location of the requested individuals

and WeChat’s servers. The servers are in China where law overrides a company’s terms of

use and exporting data. Counsel has represented their attempts to obtain the messages and

its inability to do so is reasonable to the Court based upon the circumstances.

       Notwithstanding the above discussion, the Court agrees that these messages are

highly relevant to Plaintiff’s claims. These conversations will provide insight to Plaintiff’s

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allegations that Bitmain was interfering and MineOne acquiesced to those demands,

ultimately breaching its contract with Plaintiff. Those internal discussions are likely to

either support or refute Plaintiff’s allegations. It was the Court’s hope that the prior order

would incentivize MineOne to come to a solution on obtaining the WeChat messages. It

was not intended to be a shield MineOne could use to not produce the information.

       Plaintiff brings this Motion quickly after the Court entered its Order, without much

time for MineOne to come to come to a solution. The Court will allow MineOne more time

to figure out a method that effectuates production of the messages. However, the Court will

provide the following guidance going forward. If Defendant is unable to access the

messages remotely while the representatives are in China, it shall bring those

representatives to the United States, with the relevant devices, to obtain the information.

       Rule 34 allows a party to inspect or request production of any tangible thing or

electronically stored information that is within the scope of Rule 26(b). As explained

above, this information is relevant and within that scope. Any burden for bringing the

representatives to the United States is heavily outweighed by Plaintiff’s need for the

information and the exhaustion of any less burdensome method Defendant may attempt.

Rule 37 allows the Court to enforce a Rule 34 request when a party has not complied.

       “There is no requirement that the requested materials be within the territorial

jurisdiction of the court, because a court having jurisdiction over the parties can enforce an

order regardless of the location of the documents or things.” 7 Moore’s Federal Practice -

Civil § 34.14 (citing Societe Nationale Industrielle Aerospatiale, 482 U.S. at 539–540). “It

is clear that a foreign corporation, subject to the in personam jurisdiction of a federal court,

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can be ordered under Federal Rule of Civil Procedure 30(b)(6) to produce its officers,

directors or managing agents in the United States to give deposition testimony.” Pinnacle

Packaging Co. v. Constantia Flexibles, No. 12-CV-537-JED-TLW, 2015 U.S. Dist. LEXIS

168700, *11 (N.D. Okla. Dec. 17, 2015) (citing Work v. Bier, 106 F.R.D. 45, 52 (D.D.C.

1985)). While this is not a deposition of a corporate representative, the circumstances here

require similar considerations. See In re Anscheutz & Co., GmbH, 754 F.2d 602, 615

(“court can order the production of documents and the examination of witnesses to occur

in the United States to avoid any infringement upon German sovereignty.”), vacated in

light of, Societe Nationale Industrielle Aerospatiale, 482 U.S. 522.

       Societe Nationale Industrielle Aerospatiale’s importance has already been

addressed by the court. But the factors have not been directly considered to this point. The

factors and relevant facts are:

       The importance to the investigation or litigation of the documents or other
       information requested: This information is highly important because it is the
       conversations during the time of Plaintiff’s allegations. That will show the
       true inner workings of what occurred.

       The degree of specificity of the request: Plaintiff’s requests is sufficiently
       tailored to conversations between Bitmain and MineOne that reference its
       involvement at the mining sites and conversations of their partnership.

       Whether the information originated in the United States: The information
       likely originates both in the United States and other foreign countries.

       The availability of alternative means of securing the information: The Court
       has provided ample opportunity for MineOne to come to another method to
       secure the information.

       The extent to which noncompliance with the request would undermine
       important interests of the United States, or compliance with the request
       would undermine important interests of the state where the information is

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       located: This may tangentially undermine China’s privacy interests, but there
       is no penalty for Defendant’s compliance. Upon their own representations,
       there is merely a geographic barrier to obtaining information pertaining to
       United States based activities that Defendants willingly availed themselves
       to.

Accordingly, those factors weigh in favor of requiring MineOne representatives to come

to the United States, with the relevant devices, to obtain the WeChat messages. The Court

has personal jurisdiction over all Defendants and it is appropriate to require their

representatives to come to the United States so Plaintiff may obtain its necessary discovery.

Further, it is likely that the relevant representatives already do travel to the United States

for business and that may provide a convenient opportunity to obtain the messages. In any

event, the representatives shall come to the United States for the messages retrieval no later

than June 21, 2024. After that time, Defense counsel has until July 5, 2024 to produce the

messages to Plaintiff.

       The timeframe for the messages is not limited to May 3, 2023. Unlike the tangible

agreement, the surrounding conversations could reasonably shed light on Plaintiff’s claims

because of its prior involvement with the sites, Bitmain, and MineOne. Therefore, Plaintiff

may obtain messages between Bitmain and MineOne, including their representatives, up

to July 27, 2023. It may obtain conversations pertaining to BCB, BCB’s role and

involvement at the North Range and Campstool mining sites, and those pertaining to a

partnership or financing between Bitmain and MineOne.

       If, after the representatives travel to the United States, counsel is still unable to

obtain the messages, Plaintiff’s request for Defendant to screenshot the messages may be

the only option. Defendant may not wish to collect the messages that way, but the high

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importance of the evidence requires that or potentially spoliation or some other sanction.

“[S]poliation is both the destruction of evidence and/or the failure to preserve evidence.”

Phillips Electronics North America Corp. v. BC Technical, 773 F. Supp. 2d 1149, 1195 (D.

Utah 2011). This triggers a litigant’s duty to preserve documents and materials, electronic

or tangible. Id. “Spoliation sanctions are proper when (1) a party has a duty to preserve

evidence because it knew, or should have known, that litigation was imminent, and (2) the

adverse party prejudiced by the destruction of the evidence.” Turner v. Public Serv. Co. of

Colo., 563 F.3d 1136, 1149 (10th Cir. 2009) (internal citations and quotations omitted).

Additionally, there must also be bad faith for an adverse inference of the requested

information. Id. Negligence is not enough, there needs to be some sort of conduct that

supports an inference of a weak case. Id.

       While Plaintiff may have insinuated Defendants may have destroyed some

messages, there is no proof of that or genuine controversy they have been destroyed at the

moment. Rather, the situation is similar in that information is unavailable. The reason for

the unavailability of the information may be different, but the effect and consequences of

the inability to respond remains the same.

       Adapting the spoliation requirements to the present issue, the requirements are: 1) a

party has a duty to disclose relevant information to an opposing party; 2) it is unable to

obtain the information; 3) the adverse party is prejudiced by the failure to do so; and 4)

there must be bad faith to obtain an adverse inference. See id. The bad faith requirement

further aligns with the directives in Societe Nationale Industrielle Aerospatiale. 482 U.S.

522; accord Societe Internationale Pour Participations v. Rogers, 357 U.S. 197, 208

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(1958) (“So construed [Rule 37] allows a court all the flexibility it might need in framing

an order appropriate to a particular situation. Whatever its reasons, petitioner did not

comply with the production order. Such reasons, and the willfulness or good faith of

petitioner, can hardly affect the fact of noncompliance and are relevant only to the path

which the District Court might follow in dealing with petitioner's failure to comply.”).

                                       CONCLUSION

        For the forgoing reasons, Plaintiff’s Motion for Reconsideration is denied.

Notwithstanding the denial, the Court’s clarification of its prior Order, and full directives,

is in full force.

        NOW, THEREFORE, IT IS ORDERED, Plaintiff’s motion for reconsideration is

DENIED.

        IT IS FURTHER ORDERED MineOne’s representatives shall travel to the United

States if retrieval of the WeChat messages continues to be unsuccessful.


        Dated this 20th day of May, 2024.




                                    Kelly
                                    K ll H.
                                          H Rankin
                                             R ki
                                    United States District Judge




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